                   Case: 1:21-mj-00817-SKB Doc #: 1 Filed: 11/05/21 Page: 1 of 5 PAGEID #: 1
AO 106 (Rev. 04/ 10) Application for a Search Warrant



                                         UNITED STATES DISTRICT COURT
                                                                             for the
                                                                 Southern District of Ohio

                In the Matter of the Search of                                  )
           (Brie.fly describe the property to be searched                       )
            or identify the person by name and address)
                                                                                )            Case No. 1:21-MJ-00817
   Priority Mail, Tracking Number 9505 5141 4437 1306 3935 84,                  )
addressed to Ashley Smith, 1853 See ave. Hamilton. Ohio 45011 with
  a return address of David Smith, 1130 Nevada ave, Los Banos Ca                )
                              93635.                                            )

                                                APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
     Priority Mail , Tracking Number 9505 5141 4437 1306 3935 84, addressed to Ashley Smith, 1853 See ave, Hamilton. Ohio 45011 with a return address of David
                                                          Smith, 1130 Nevada ave, Los Banos Ca 93635 .

located in the                Southern
                      ---------
                                                    District of    -------------
                                                                                    Ohio                      , there is now concealed (identify the
person or describe the property to be seized):
A quantity of a controlled substance and/or proceeds which are evidence thereof, and/or contraband, in violation of Title
21 , United States Code, Section 841.

            The basis for the search under Fed. R. Crim. P. 41 (c) is (check one or more):
                   ISi   evidence of a crime;
                   ISi   contraband, fruits of crime, or other items illegally possessed;
                   D     property designed for use, intended for use, or used in committing a crime;
                   D     a person to be arrested or a person who is unlawfully restrained.

            The search is related to a violation of: Title 21
               Code Section                                                         Offense Description
21    u.s.c. 841                                   Possession with intent to distribute a controlled substance


            The application is based on these facts:
See attached affidavit of U.S. Postal Inspector Andrew W. Kremer

             ISi   Continued on the attached sheet.
             D     Delayed notice         days (give exact ending date if more than 30 days: - - - -- - ) is requested
                   under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

                                                                                                    /'--'/A--/---
                                                                                                            Applicant's signature

                                                                                             Andrew W. Kremer, U.S. Postal Inspector
                                                                                                            Printed name and title

Sworn to before me and signed in my presence.
via electronic means, specifically Facetime video.

Date:              Nov 5, 2021
                                                                                                               Judge's signature
                                                                                                        Stephanie K. Bowman
City and state: Cincinnati, Ohio
                                                                                                    United States Magistrate Judge
                                                                                                                     ~ - - - -~ - - -- - ~
                                                                                                            Printed name and title
     Case: 1:21-mj-00817-SKB Doc #: 1 Filed: 11/05/21 Page: 2 of 5 PAGEID #: 2




                                        AFFIDAVIT

     I, Andrew W. Kremer, having been duly sworn, depose and state:

1.   I am a United States Postal Inspector, having been so employed since May 19, 2012. I
     am presently assigned to the Cincinnati Field Office, Pittsburgh Division of the United
     States Postal Inspection Service (USPIS) with investigative responsibility for southwest
     Ohio and northern Kentucky. Part of my investigative responsibility involves the use of
     the United States Mail in the illegal transporting of narcotics and other dangerous
     controlled substances and financial proceeds relating thereto.

2.   I completed United States Postal Inspection Service Basic Training in August 2012. The
     training involved narcotic investigation techniques, chemical field tests and training in
     the detection and identification of controlled substances being transported in the United
     States Mail. In addition to this formal training, I have worked since August 2012 with
     various federal, state and local law enforcement agencies in the investigation of the
     transportation of illegal drugs and their identification.

3.   This Affidavit is made in support of a search warrant for the following property, namely
     the package associated with the following United States Postal Service ("USPS") Priority
     Mail, USPS Tracking Number:

            a.      9505 5141 4437 1306 3935 84 (the "Subject Package")

     This Affidavit is made in support of a warrant to search the Subject Package for
     evidence of a crime as well as contraband, fruits of a crime or other items illegally
     possessed in relation to the following offense:

     a.     Possession with Intent to Distribute Controlled Substances, in violation of Title
            21 , United States Code, § 841.

     Because this Affidavit is submitted in support of the application of the United States to
     search the Subject Package, it does not include every fact known concerning this
     investigation. I have set forth facts and circumstances that I have relied upon to establish
     probable cause to justify the issuance of a warrant to search the Subject Package. The
     Subject Package is currently being held at the USPIS Cincinnati Field Office.

4.   Based on my training and experience, I have become aware that drug traffickers
     frequently use Priority Mail Express and/or Priority Mail, services offered by the USPS,
     to transport narcotics and other dangerous controlled substances. As a result of
     investigations and successful controlled substance prosecutions where Priority Mail
     Express and/or Priority Mail were used, I have learned of certain characteristics
     associated with other Priority Mail Express and/or Priority Mail items previously
     identified as containing narcotics or other dangerous controlled substances. Some of
     these characteristics include (but are not necessarily limited to or used on every
     occasion) : false or non-existent return address, addressee is not known to receive mail at
      Case: 1:21-mj-00817-SKB Doc #: 1 Filed: 11/05/21 Page: 3 of 5 PAGEID #: 3




      the listed delivery address, the package is heavily taped, the package is mailed from a
      known drug source location, labeling information contains misspellings, the label
      contains an illegible waiver signature, unusual odors emanating from the package, and
      the listed address is located in an area of known or suspected drug activity.

5.    Through training and experience, your Affiant realizes that drug traffickers frequently
      engage in drug transactions through the mail, store narcotics, their proceeds, or packaging
      materials, etc., in the presence of one another. Therefore, the odor of a controlled
      substance is often present on the package, packaging materials, or contents of the
      package, including financial proceeds from narcotics trafficking such as cash, money
      orders, or other financial instruments.

6.    On or about November 4, 2021, I intercepted the Subject Package at the USPS Network
      and Distribution Center, Cincinnati, Ohio.

      The Subject Package is fmiher described as:

             Priority Mail, USPS Tracking Number: 9505 514144371306 3935 84
             Weighing approximately 27 pounds 5 ounces in a Medium Pen+Gear box. Total
             postage paid was $104.25.

             Sender:        David Smith
                            1130 Nevada ave
                            Los Banos Ca 93635

             Addressee:     Ashley Smith
                            1853 See ave
                            Hamilton. Ohio 45011

7.    I observed the Subject Package and reviewed USPS tracking information, which
      indicated the Subject Package was mailed at the Los Banos Post Office, Los Banos,
      California 93635.

8.    I searched the CLEAR database for the listed return address of the Subject Package.
      CLEAR is an investigative platform available exclusively to law enforcement and other
      government investigators that contains public-record data about people and businesses.
      The information obtained from the system indicated that there is no David Smith
      associated with that address.

9.    I searched the CLEAR database for the listed addressee of the Subject Package. The
      information obtained from the system indicated that there is no Ashley Smith associated
      with that address.

10.   On or about November 4, 2021 , I arranged for Deputy Nick Poole, Hamilton County
      Sheriffs Office to utilize a narcotics canine to check the Subject Package. Deputy
      Poole and his canine "Akim" are a currently certified narcotics team. The team is



                                              2
      Case: 1:21-mj-00817-SKB Doc #: 1 Filed: 11/05/21 Page: 4 of 5 PAGEID #: 4




       certified by the Ohio Peace Officer Training Commission and the Ohio Office of the
       Attorney General. Deputy Poole reports that "Akim" passed all of his examinations and
       has successfully located hidden drugs in the past; I therefore consider "Akim" to be
       reliable. I met Deputy Poole at the USPIS Cincinnati Field Office, where the Subject
       Package was placed in a separate room among several other similar packages and
       presented to "Akim", who alerted positively to the presence or odor of a controlled
       substance upon the Subject Package. Attached to this Affidavit, and incorporated by
       reference, is a photocopy of the narcotic canine handler's record of examination.

11.    Based upon my experience and training, this information, along with the positive alert of
       narcotic canine "Akim," is indicative of the Subject Package containing narcotics or
       proceeds relating thereof.

12.    Based upon the information contained in this Affidavit, I believe that there is probable
       cause to believe that the Subject Package will contain evidence and/or contraband, fruits
       of crime, or other items illegally possessed. Therefore, a search warrant to open the
       Subject Package is requested.


                                            Further, your Affiant sayeth naught.

                                            /'--- '/A-,     I-----
                                            Andrew W. Kremer
                                            U.S. Postal Inspector



Subscribed and sworn to and before me this _ 5th
                                               _ _ day of November, 2021.
via electronic means, specifically Facetime video.


~WK&w-ma.0
Stephanie K. Bowman
United States Magistrate Judge




                                              3
       Case: 1:21-mj-00817-SKB Doc #: 1 Filed: 11/05/21 Page: 5 of 5 PAGEID #: 5




®     United States Postal Inspecti o n Service
      Pittsburgh Division




                                                 OFFICER AFFIDAVIT



I, DEPUTY N. POOLE, AM, AND HAVE BEEN , EMPLOYED BY THE HAM ILTON COUNTY SHERIFF'S

OFFICE, SINCE 2004. AMONG OTHER DUTIES, I AM CURRENTLY THE ASSIG NED HANDLER OF

NARCOTICS DETECTION              CANINE    "AKIM", WHICH    IS TRAINED AND   CERTIFIED IN THE

 DETECTION OF THE PRESENCE OR ODOR OF NARCOTICS DESCRIBED AS FOLLO WS:

 Marijuana, Cocaine, Heroin, Methamphetamines, and their derivatives

ON 11/4/2021, AT THE REQUEST OF POSTAL INSPECTOR A. KREMER I RESPONDED TO THE US

POSTAL INSPECTION SERVICE CINCINNATI FIELD OFFICE WHERE "AK IM " DID ALERT TO AND

INDICATE UPON THE FOLLOWING DESCRIBED ITEM :




USPS Priority Mail, USPS Tracking Number: 9505 5141 4437 1306 3935 84,

addressed to Ashley Smith, 1853 See ave, Hamilto n. Ohio 45011 with a return

address of David Smith, 1130 Nevada ave, Los Banos Ca 93635.

BASED ON MY TRAINING AND EXPERIENCE AND THAT OF "AKIM ", I CONSIDER THE ABO VE

DESCRIBED ITEM TO CONTAIN WITHIN OR UPON THE PRESENCE OR ODOR OF A NARCOTIC OR

OTHER DANGEROUS CONTROLLED SUBSTANCE.



      ~/1,/J.>-
          (Signature and Date)            //-   </ - Z.OU



Cincinnati Field Office
895 Central Avenue, Suite 400
Cincinnati, OH 45202-5748
Telephone: 513-684-8060
FAX: 513-684-8009
